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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 23-cr-229 (CJN)
                                             :
TAYLOR FRANKLIN TARANTO,                     :
                                             :
                      Defendant.             :


                             JOINT MOTION FOR EXTENSION

        The United States of America jointly with counsel for the Defendant hereby respectfully

move the Court for an extension of time on all pending supplemental motion and response dates

in this matter pertaining to the Defendant’s motion to suppress.

        On October 24, 2023, the Court held a hearing on the Defendant’s motion to suppress, and

after conferring with the parties, issued a scheduling order requiring the Defense to file their

supplemental brief in support of their motion to suppress by November 9, 2023, with the

government responding by November 22, 2023, and replies due by November 29, 2023.

        Both Defense and Government Counsel received the transcript from the hearing on

November 7, 2023. As a result, Defense Counsel now respectfully requests an extension in their

deadline to file their supplemental brief in support of their motion to suppress until November 14,

2023. The Government accordingly requests a reciprocal extension to file its response until

November 30, 2023. Defense Counsel then requests an extension to file any reply to December 7,

2023.

        Both the Government and the Defense are in agreement with the aforementioned

extensions.
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                           Respectfully submitted,



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                           _____________________________
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